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IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc.
(Copies of said Order having also been filed in Civil Actions No. 10-3897; 10-3896;
10-3895; 10-04168; 10-04169; 11-00058.

MDL 2179

SECTION “J”

JUDGE CARL BARBIER

By submitting this document, lam assertin g a claim in Complain etition o: loldings e
al, 10-3897, 10-3896, 10-3895, and the matter of Island Ventures et aL, 10-04168, 10-04169,and MV

Monica Anne11-00058; adopting the allegations made in the Robin complaint (2:10-1986, Rec. Doc. 1)
Last Name | First Name Middle Name Suffix

Phone Number

E-Mail Address

Address

INDIVIDUAL CLAIM?

City/State/Zip

BUSINESS CLAIM?

LJ

Employer Name

Business Name

Job Title / Description Type of Business
Address Address
City/State/Zip City/State/Zip

Last 4 Digits of your Social Security No.

Attorney Name

Last 4 Digits of Tax ID

Firm Name

Address

City/State/Zip

Phone Number

E-Mail Address

Claim Filed with BP? —

[J v0

If yes, BP Claim No:

CLAIM TYPE: (Please check all that apply)
[-_]Damage or destruction to real or personal property

[“7] Earnings/Profit Loss
[[7] Removal and/or clean-up costs

Claim Filed with GCCF?

[_] ves

If yes, Claimant Identification No:

[| no

[-_] Fear of Future Injury and/or Medical Monitoring
[-—] Loss of Subsistence use of Natural Resources
[-—] Personal Injury/ Death

C7) other:

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras
Street, New Orleans, Louisiana 70130, in Civil Action No. Seacor Holdings 10-3897, 10-3896, 10-3895, and
the matter of Island Ventures et al., 10-04168, 10-04169,and MV Monica Anne11-00058 While this Direct
Plaintiff Liaison Counsel, after being notified electronically by the Clerk of Court of the filing of this Short Form,
shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of the Plaintiff Profile
Form.
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a I
Brief Description:

4. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1

(1 1. Commercial fisherman, shrimper, crabber, or oysterman, or fhe owner and operator of a business involving fishing, shrimping,
crabbing or oystering. :

3 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof. ‘

0 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

0 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

(0 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
OO 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

OD 8. Hote! owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
(1 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.
(4 10. Person who utilizes natural resources for subsistence.

OJ 114. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

{5 1. Boat captain or crew involved in the Vessels of Opportunity program.
(10 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

(1 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
{4 5. Resident who lives or works in close proximity to coastal waters.

(] 6. — Other.

Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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Claimant or Attorney Signature

Print Name

Date

3

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
